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 7

 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         )       No. 13-CR-00204-MCE
                                                       )
                                                       )       STIPULATION AND
12           Plaintiff,                                )       ORDER CONTINUING SENTENCING
13                                                     )
     v.                                                )
14                                                     )       Date: March 10, 2016
     JOSE JUNEZ-RAMIREZ.                               )       Time: 9:00am.
15                                                     )       Judge: Honorable Morrison C. England, Jr.
                                                       )
16
             Defendant.                                )
                                                       )
17                                                     )
                                                       )
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19           IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Michele Beckwith, Assistant United States Attorney, attorney for plaintiff, together

21   with Kyle Knapp, attorney for defendant, Jose Junez-Ramirez, that the previously-scheduled

22   sentencing hearing, currently set for February 25, 2016, be vacated and that the matter be set for

23   sentencing on March 10, 2016 at 9:00 a.m.

24           This continuance is requested to allow defense counsel additional time to resolve an

25   issue in the probation report that is critical in the sentencing analysis.

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 1          The final probation report has been filed and counsel responded with formal objections
 2   late last week. There is believed to be no need for a revised sentencing schedule.
 3          IT IS SO STIPULATED.
 4
     Dated: February 22, 2016                                    BENJAMIN B. WAGNER
 5                                                               UNITED STATES ATTORNEY

 6                                                        by:    /s/ Kyle Knapp for
                                                                 MICHELE BECKWITH
 7
                                                                 Assistant U.S. Attorney
 8                                                               Attorney for Plaintiff
 9   Dated: February 22, 2016                                    /s/ Kyle Knapp
10
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
11                                                               JOSE JUNEZ-RAMIREZ
12

13
                                                 ORDER
            The Stipulation of the parties is hereby accepted and the requested continuance is
14
     GRANTED. This matter shall be dropped from this court’s February 25, 2016 criminal
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     calendar and re-calendared for judgment and sentencing on March 10, 2016.
16
            IT IS SO ORDERED.
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     Dated: February 25, 2016
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